Case 1:96-cr-00080-SEB-DKL Document 23 Filed 10/19/20 Page 1 of 10 PageID #: 826




                           UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF INDIANA

 UNITED STATES OF AMERICA                                Case No. 1:96-cr-00080-SEB-DKL-01

 v.                                                      ORDER       ON      MOTION FOR
                                                         SENTENCE REDUCTION UNDER 18
                                                         U.S.C. § 3582(c)(1)(A)
 Willie Newman                                           (COMPASSIONATE RELEASE)


        Upon motion of ☐ the defendant ☐ the Director of the Bureau of Prisons for a reduction

 in sentence under 18 U.S.C. § 3582(c)(1)(A), and after considering the applicable factors provided

 in 18 U.S.C. § 3553(a) and the applicable policy statements issued by the Sentencing Commission,

 IT IS ORDERED that the motion is:

 ☐ DENIED.

 ☐ DENIED WITHOUT PREJUDICE.

 ☐ OTHER:

 ☐ FACTORS CONSIDERED: See attached opinion.
Case 1:96-cr-00080-SEB-DKL Document 23 Filed 10/19/20 Page 2 of 10 PageID #: 827




                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF INDIANA
                                   INDIANAPOLIS DIVISION

 UNITED STATES OF AMERICA,                            )
                                                      )
                               Plaintiff,             )
                                                      )
                          v.                          )      No. 1:96-cr-00080-SEB-DKL-01
                                                      )
 WILLIE NEWMAN,                                       )
                                                      )
                               Defendant.             )

                                              ORDER

         Pending before the Court is Willie Newman's emergency motion for compassionate

 release, dkt. [6], filed pursuant to 18 U.S.C. § 3582(c)(1)(A)(i), as amended by § 603 of the First

 Step Act of 2018, Pub. L. No. 115-391, 132 Stat. 5194, 5239 (2018). Mr. Newman asks the Court

 to reduce his sentence of imprisonment to time served. For the reasons explained below,

 Mr. Newman's motion is DENIED.

                                                I.
                                            BACKGROUND

         A jury convicted Mr. Newman in May 1997 of armed bank robbery. Dkt. 21 at 2; dkt. 21-

 1 at 1. Mr. Newman was sentenced to a mandatory life sentence after the trial court found that it

 was his third violent felony conviction. Dkt. 21-1 at 14; 18 U.S.C. § 3559(c)(1). His prior

 convictions include an armed robbery at the age of 24 and another bank robbery at the age of 34.

 Id. at 7-8.

         During the commission of the bank robbery for which he is currently incarcerated,

 Mr. Newman threatened a bank employee with a weapon and used her as a physical shield as he

 exited the bank. Id. at 3. Mr. Newman was arrested on April 19, 1996, and he has been in custody

 since then. Dkt. 18 at 2. He is now 76 years old and incarcerated at FCI Greenville in Illinois. Id.


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Case 1:96-cr-00080-SEB-DKL Document 23 Filed 10/19/20 Page 3 of 10 PageID #: 828




 at 2, 16. While incarcerated, Mr. Newman has successfully completed numerous courses. His

 conduct record is clear, and he currently works as a housing unit orderly. Dkt. 18 at 21.

          Mr. Newman's motion is motivated in part by the COVID-19 pandemic. FCI Greenville

 has seen over 110 cases among inmates and over 20 cases among staff members. U.S. Bureau of

 Prisons, COVID-19 Update, avail. at https://www.bop.gov/coronavirus/ (last visited Oct. 15,

 2020). As of October 15, 2020, FCI Greenville had twenty-nine active cases between inmates and

 staff (23 inmates and 6 staff members). Id. Mr. Newman suffers from hypertension. Dkt. 18 at 16.

 The Centers for Disease Control and Prevention (CDC) report that people with hypertension

 "might     be   at   an   increased   risk"   for    serious   illness   from   COVID-19.      See

 https://www.cdc.gov/coronavirus/2019-ncov/need-extra-precautions/people-with-medical-

 conditions.html (last visited Oct. 15, 2020). Additionally, on June 9, 2020, Mr. Newman's

 Hemoglobin A1C tested at 6.5%. A second test at that level or higher indicates that a person has

 type 2 diabetes. Dkt. 18 at 18. According to the CDC, people with type 2 diabetes "are at an

 increased risk" for serious illness from COVID-19. Id.

                                              II.
                                        LEGAL STANDARD

          Under 18 U.S.C. § 3582(c)(1)(A), the Court may "reduce the term of imprisonment (and

 may impose a term of probation or supervised release with or without conditions that does not

 exceed the unserved portion of the original term of imprisonment), after considering the factors

 set forth in section 3553(a) to the extent that they are applicable." However, the Court may do so

 only "if it finds that extraordinary and compelling reasons warrant such a reduction . . . and that

 such a reduction is consistent with applicable policy statements issued by the Sentencing

 Commission . . . ." 18 U.S.C. § 3582(c)(1)(A)(i).




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Case 1:96-cr-00080-SEB-DKL Document 23 Filed 10/19/20 Page 4 of 10 PageID #: 829




        Congress directed the Sentencing Commission to "describe what should be considered

 extraordinary and compelling reasons for sentence reduction, including the criteria to be applied

 and a list of specific examples." 28 U.S.C. § 994(t). In response to this directive, the Sentencing

 Commission promulgated a policy statement regarding compassionate release under § 3582(c),

 contained in U.S.S.G. § 1B1.13 and the accompanying Application Notes. While that particular

 policy statement has not yet been updated to reflect that defendants (and not just the BOP) may

 move for compassionate release,1 courts have universally turned to U.S.S.G. § 1B1.13 to provide

 guidance on the "extraordinary and compelling reasons" that may warrant a sentence reduction.

 E.g., United States v. Casey, 2019 WL 1987311, at *1 (W.D. Va. 2019); United States v. Gutierrez,

 2019 WL 1472320, at *2 (D.N.M. 2019); United States v. Overcash, 2019 WL 1472104, at *2-3

 (W.D.N.C. 2019). There is no reason to believe, moreover, that the identity of the movant (either

 the defendant or the BOP) should have any impact on the factors the Court should consider.

        As provided in § 1B1.13, consistent with the statutory directive in § 3582(c)(1)(A), the

 compassionate release analysis requires several findings. First, the Court must address whether

 "[e]xtraordinary and compelling reasons warrant the reduction" and whether the reduction is

 otherwise "consistent with this policy statement." U.S.S.G. § 1B1.13(1)(A), (3). Second, the Court

 must determine whether the defendant is "a danger to the safety of any other person or to the

 community, as provided in 18 U.S.C. § 3142(g)." U.S.S.G. § 1B1.13(2). Finally, the Court must

 consider the § 3553(a) factors, "to the extent they are applicable." U.S.S.G. § 1B1.13.




 1
  Until December 21, 2018, only the U.S. Bureau of Prisons (BOP) could bring a motion for
 sentence reduction under § 3582(c)(1)(A). The First Step Act of 2018, which became effective on
 December 21, 2018, amended § 3582(c)(1)(A) to allow defendants to bring such motions directly,
 after exhausting administrative remedies. See 132 Stat. at 5239 (First Step Act § 603(b)).


                                                 4
Case 1:96-cr-00080-SEB-DKL Document 23 Filed 10/19/20 Page 5 of 10 PageID #: 830




        Subsections (A)–(C) of Application Note 1 to § 1B1.13 identify three specific "reasons"

 that qualify as "extraordinary and compelling": (A) terminal illness diagnoses or serious conditions

 from which a defendant is unlikely to recover and which "substantially diminish[]" the defendant's

 capacity for self-care in prison; (B) a serious deterioration in mental or physical health because of

 the aging process where a defendant is over 65 years old and has served at least ten years or 75%

 of his sentence, whichever is less; or (C) certain family circumstances. U.S.S.G. § 1B1.13,

 Application Note 1(A)–(C). Subsection (D) adds a catchall provision for "extraordinary and

 compelling reason[s] other than, or in combination with, the reasons described in subdivisions (A)

 through (C)." Id., Application Note 1(D). 2 Mr. Newman argues that he qualifies for compassionate

 release under both subsection B and subsection D.




 2
   The policy statement provides that "[a] reduction under this policy statement may be granted only
 upon motion by the Director of the Bureau of Prisons." U.S.S.G. Manual §1B1.13, Application
 Note 4. Likewise, the catchall provision provides, "As determined by the Director of the Bureau
 of Prisons, there exists in the defendant's case an extraordinary and compelling reason other than,
 or in combination with, the reasons described in subdivisions (A) through (C)." Id., Application
 Note 1(D). This policy statement has not been amended since the passage of the First Step Act.
 Insofar as it states that only the Director of the BOP can bring a motion under § 3582(c)(1)(A), it
 is directly contradicted by the amended statutory text. This discrepancy has led some courts to
 conclude that the Commission does not have a policy position applicable to motions under §
 3582(c)(1)(A)(i) and that they have discretion to determine what constitutes an "extraordinary and
 compelling reason" on a case-by-case basis, looking to the policy statement as helpful, but not
 dispositive. See, e.g., United States v. Perdigao, No. 07-103, 2020 WL 1672322, at *2 (E.D.
 La. Apr. 2, 2020) (collecting cases); see also United States v. Haynes, No. 93 CF 1043 (RJD),
 2020 WL 1941478, at *14 (E.D.N.Y. Apr. 22, 2020) (collecting cases). Other courts have held that
 they must follow the policy statement as it stands and, thus, that the Director of the BOP is the
 ultimate arbiter of what counts as "extraordinary and compelling" under the catchall
 provision. See, e.g., United States v. Lynn, No. 89-0072-WS, 2019 WL 3805349, at *2–4 (S.D.
 Ala. Aug. 13, 2019). The Court need not resolve that debate, though, because Mr. Newman's
 motion is due to be denied even if the Court assumes that the policy statement is not binding and
 that it has the discretion to determine what constitutes an "extraordinary and compelling reason"
 for a sentence reduction.


                                                  5
Case 1:96-cr-00080-SEB-DKL Document 23 Filed 10/19/20 Page 6 of 10 PageID #: 831




                                                 III.
                                              ANALYSIS

        Considering the factual circumstances discussed in Part I, the Court declines to reduce

 Mr. Newman's sentence at this time. Although Mr. Newman is over 65 and has served at least ten

 years, in the context of his mandatory life sentence, his medical conditions are not extraordinary

 or compelling reasons for his release.

        First, Mr. Newman does not meet the requirements of subsection B, which requires that he

 be experiencing a "serious deterioration in physical or mental health because of the aging process."

 U.S.S.G. § 1B1.13, Application Note 1(B). While it appears that Mr. Newman suffers from several

 conditions that might be age-related (such as benign hypertrophy of the prostate with urinary

 obstruction, hyperlipidemia, hyperglycemia, and degeneration of cervical intervertebral disc), he

 has not shown—or even argued—that they have resulted in a "serious" deterioration in his health.

 This is not a case where the defendant's age and illnesses are so advanced that "he has been

 incarcerated for the remainder of the years during which he had a suitable quality of life" and

 further imprisonment therefore "likely serves no meaningful retributive purpose." United States v.

 Ennis, No. EP 02-CR-1430-PRM-1, 2020 WL 2513109, at *8 (W.D. Tex. May 14, 2020).

 Although Mr. Newman is 76 years old, his activities in prison show that he is able to lead an active,

 meaningful life despite his health conditions. It also appears that his hypertension and other age-

 related illnesses are well managed.

        On the particular facts of this case, the risk Mr. Newman faces from COVID-19 also does

 not qualify as extraordinary and compelling under the "catchall" exception in subsection D. The

 Court does not take Mr. Newman's medical conditions or the threat of COVID-19 lightly.

 According to the CDC, the risk for severe illness from COVID-19 increases with age, and 8 out of

 10 COVID-19-related deaths reported in the United States have been among adults aged 65 years

                                                  6
Case 1:96-cr-00080-SEB-DKL Document 23 Filed 10/19/20 Page 7 of 10 PageID #: 832




 and older, like Mr. Newman. See https://www.cdc.gov/coronavirus/2019-ncov/need-extra-

 precautions/older-adults.html (last visited Oct. 16, 2020). He also has one condition—

 hypertension—that may increase his risk of severe illness, and he may have another condition—

 type 2 diabetes—that would increase his risk of serious illness, if he is infected. Mr. Newman is

 also African-American. The Court recognizes that the CDC has advised that some racial minority

 groups are being disproportionately affected by COVID-19 because of "[l]ong-standing systemic

 health and social inequities," although Mr. Newman does not explain whether the CDC's general

 guidance about race applies to incarcerated populations, which have unique characteristics. See

 https://www.cdc.gov/coronavirus/2019-ncov/community/health-equity/race-

 ethnicity.html?CDC_AA_refVal=https%3A%2F%2Fwww.cdc.gov%2Fcoronavirus%2F2019-

 ncov%2Fneed-extra-precautions%2Fracial-ethnic-minorities.html (last visited Oct. 15, 2020).

         No matter the precautions taken at FCI Greenville, Mr. Newman's ability to control his

 contacts and hygiene would be greater if he was not in prison. Mr. Newman's potential risk of

 becoming seriously ill from COVID-19, however, is not a compelling reason for his release from

 a mandatory life sentence. 18 U.S.C. § 3559(c)(1) reflects Congress's judgment that Mr. Newman

 should spend the remainder of his life in prison—regardless of personal characteristics,

 rehabilitation, or other factors that would ordinarily factor into the selection of a prison sentence. 3

         Although Mr. Newman may later be diagnosed with type 2 diabetes, he does not currently

 have a medical condition that the CDC has identified as definitely increasing the risk of severe




 3
   The Court notes that Congress has allowed for the possibility that a defendant serving a
 mandatory life sentence under § 3559(c) might obtain compassionate release. See 18 U.S.C.
 § 3582(c)(1)(A)(ii). But that provision requires that the defendant be at least 70 years of age and
 that he have served at least 30 years in prison. Id. Mr. Newman is over 70 years old, but he has not
 yet served 30 years in prison. When he reaches that threshold, he may wish to seek compassionate
 release again.
                                                    7
Case 1:96-cr-00080-SEB-DKL Document 23 Filed 10/19/20 Page 8 of 10 PageID #: 833




 COVID-19 symptoms. And no matter his risk factors, COVID-19 cannot deprive Mr. Newman of

 what he seeks through this motion—the opportunity to resume life outside prison. Mr. Newman

 lost that opportunity when he was convicted under § 3559(c)(1). The grim and unfortunate reality

 is that COVID-19 cannot deprive Mr. Newman of an opportunity he has already lost. As a result,

 his risk of serious illness is not a compelling basis for a sentence reduction. See United States v.

 Barrios, No. 3:02-cr-00002-RLY-CMM-05, dkt. 123 (S.D. Ind. Sept. 21, 2020) (declining to find

 extraordinary and compelling reasons based on risk from COVID-19 where defendant was serving

 mandatory life sentence).

        Mr. Newman notes that some courts—including this one—have granted compassionate

 release to inmates serving mandatory life sentences. However, this case is different from United

 States v. McGraw, in which Chief Judge Magnus-Stinson reduced a prisoner's life sentence to time

 served under Application Note 1(A)—which requires a defendant to be substantially limited in

 providing self-care—as opposed to the catch-all provision in Application Note 1(D). See United

 States v. McGraw, No. 2:02-cr-00018-LJM-CMM, 2019 WL 2059488 (S.D. Ind. May 9, 2019).

 There is no indication that Mr. Newman's ability to care for himself has been substantially limited.

        Because the Court finds that release is not currently justified by an extraordinary and

 compelling reason, the Court need not determine whether it is also warranted under the factors in

 18 U.S.C. § 3553(a). The Court notes, however, that the analyses are intertwined in the case of a

 mandatory life sentence. A mandatory life sentence signifies an offense of the utmost seriousness.

 18 U.S.C. § 3553(a)(1). A mandatory sentence means there is no disparity among defendants

 convicted of the same offense; reducing Mr. Newman's sentence would create a disparity rather

 than remedy one. Id. at § 3553(a)(6). And a mandatory life sentence indicates that only an

 extraordinarily lengthy prison term can reflect the seriousness of the offense and deter similar



                                                  8
Case 1:96-cr-00080-SEB-DKL Document 23 Filed 10/19/20 Page 9 of 10 PageID #: 834




 conduct. Id. at §§ 3553(a)(2)(A)–(B). To be sure, the First Step Act grants the Court discretion to

 reassess those factors. No prison term is trivial, and Mr. Newman has served over 24 years in

 prison. But reducing Mr. Newman's sentence now would not serve the purposes discussed at

 § 3553(a). 4

         Although the Court denies this motion, it acknowledges Mr. Newman's good conduct

 record and efforts to improve himself and his community while in prison. These efforts are

 particularly commendable in light of his life sentence which inherently reduces the range of

 available incentives for good conduct. The bottom line is that Mr. Newman committed a serious

 crime which carried a mandatory lifetime prison sentence due to his prior commissions of violent

 felonies, and that extraordinary and compelling reasons currently do not justify a reduction in his

 sentence. This should not deter him from continuing to pursue a meaningful life and positively

 impact his peers, whether inside or outside prison.

                                                  IV.
                                               Conclusion

         Mr. Newman's motion to reduce sentence, dkt. [6], is denied.

         IT IS SO ORDERED.




 4
   The Court also notes that defendants who commit robberies are more likely to recidivate than
 defendants who commit other violent felonies. United States Sentencing Commission, Recidivism
 Among Federal Violent Offenders 16, 27 (Jan. 2019) ("Violent offenders recidivated at a higher
 rate than non-violent offenders in every age group at the time of release from prison, and the gap
 between the two groups widens as age at release increases . . . . Robbery offenders recidivated at
 a higher rate, more quickly, and for more serious offenses than did the other . . . violent instant
 offenders."),        available        at        https://www.ussc.gov/sites/default/files/pdf/research-and-
 publications/research-publications/2019/20190124_Recidivism_Violence.pdf. This pattern holds true
 even as defendants age: "The recidivism rate for robbery offenders released after age 50 is almost
 twice as high as the rate for all other violent instant offenders (47.0% compared to 26.9%)." Id. at
 27. Although Mr. Newman's age is advanced, his risk of recidivism remains higher than that of
 other elderly offenders.
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Case 1:96-cr-00080-SEB-DKL Document 23 Filed 10/19/20 Page 10 of 10 PageID #: 835




         10/19/2020
  Date: ________________                                  _______________________________
                                                          SARAH EVANS BARKER, JUDGE
                                                          United States District Court
                                                          Southern District of Indiana


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